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                             UNITED STATES DISTRICT COURT
   7
                            CENTRAL DISTRICT OF CALIFORNIA
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 10     HORACE LUCIOUS,                            Case No. 5:21-cv-370-VAP (MAR)
 11                               Plaintiff,
 12                         v.                     JUDGMENT
 13     B.O.P.,
 14                               Defendant.
 15
 16
             Pursuant to the Order Accepting Findings and Recommendation of United
 17
       States Magistrate Judge,
 18
             IT IS HEREBY ADJUDGED that this action is dismissed without prejudice.
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 20
       Dated: September 23, 2021
 21
 22
                                               HONORABLE VIRGINIA A. PHILLIPS
 23
                                               United States District Judge
 24
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 28
